For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 1 of 22

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UNITED STATES DISTRICT COURT FILED

NORTHERN DISTRICT OF CALIFORNIA FEB 05 2018

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LINDA MORALES, et al., Case No. 16-cv-02429-E IRCPICT OF CauiForg

Plaintiffs,
ORDER GRANTING IN PART AND
V. DENYING IN PART DEFENDANTS’
MOTION FOR SUMMARY JUDGMENT

COUNTY OF MENDOCINO, et al.,
Docket No. 76

Defendants.

I. INTRODUCTION

This case stems from a county’s investigation of child-abuse allegations in 2015. The
investigation resulted in the removal of K.B. (the minor in question) from the custody of his
grandmother Linda Morales. K.B. was returned to Ms. Morales’ care after approximately two
months. Ms. Morales, her husband Rudolfo Morales, and K.B. (“Plaintiffs”) brought suit against
the County of Mendocino, various County employees, and K.B.’s mother Buffey Wright
(“Defendants”). Now before the Court is Defendants’ Motion for Summary Judgment.

Il. FACTUAL BACKGROUND

The general timeline of events is undisputed and is as follows:

Linda Morales is married to Rudolfo Morales. They have at least two children, Buffey
Wright (“Wright”) and Rodney Wright. Wright is the mother of K.B., the minor in question.
Rodney Wright has a child named V.W. In 2015, Ms. Morales had custody of K.B., and Wright
had limited visitation rights. V.W. lived with Wright.

On July 22, 2015, V.W. called Mendocino County Child Protective Services (“CPS”) to
complain that Ms. Morales had been abusing K.B. See Docket No. 86 (“Warrant Materials”), at
KB_JV_0004; Docket No. 77-3, at ECF 72. Now-dismissed defendant Jennifer Sookne, a county
employee, answered the phone and completed the initial forms. Defendant Jannee Dale, a social

worker, handled the complaint.

For the Northern District of California

United States District Court

27
28

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 2 of 22

Dale sought and obtained a “see and speak” warrant from the Superior Court permitting
her to enter the Morales residence and interview K.B. See id. Dale, accompanied by law
enforcement officer Christian Denton and a tribal representative, arrived at the Morales residence
on July 30, where they met Ms. Morales. Shortly thereafter, Dale and K.B. exited the home to
speak alone, during which K.B. described some physical abuse. See Docket No. 79 (“Powell
Decl.”), Ex. A (“Dale Dep.”), at 90-91, At some point during this conversation, K.B. produced a
diary documenting abusive behavior by Ms. Morales. Dale then called now-dismissed defendant
Lisa Allison, also a social worker, to discuss the situation and possible options. See Dale Dep. at
82-84. Thereafter, Dale re-entered the home and sought Ms. Morales’ agreement to a Safety Plan!
whereby K.B. would stay elsewhere while the investigation was pending. See Powell Decl., Ex. C
(“Removal Tr.”). Denton offered to take in K.B., and Ms. Morales agreed. See id.

On August 4, Denton delivered K.B. to the CPS offices. On that day, Dale sought and
obtained Ms. Morales’ agreement to a Voluntary Placement, which placed K.B. in foster care. See
Docket No. 81 (“Morales Decl.”).

Approximately two months later, K.B. was returned to Ms. Morales’ custody. Sometime
during this loss of custody, Ms. Wright petitioned to terminate Ms. Morales’ guardianship of K.B.
The petition was later withdrawn. Also during this two-month period, K.B. was seen by a
physician twice for unspecified reasons. See Powell Decl., Ex. H (“Morales Dep.”), at 78.

A separate complaint had been filed a year earlier in 2014, claiming that K.B. had recently
been beaten so badly by Ms. Morales that he could not sit down. Docket No. 77-3, at ECF 63.
Dale had interviewed K.B. at school on September 11, 2014. The precise content of the
conversation is disputed, but the parties do not dispute that K.B. did not confirm the allegations.
See Docket No. 78 (“Opp.”), at 2; Docket No. 91 (“Reply”), at 1 (offering only evidence that
Linda Morales had struck K.B. with a belt in 2013, with no indication of the severity). Dale
interviewed Ms. Morales on the same day, and they signed a Risk Reduction Plan whereby Ms.

Morales agreed to a “hands off approach to discipline.” Docket No. 77-2, at ECF 8-10. The

' Plaintiffs refer to this as a Risk Reduction Plan.
2

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 3 of 22

investigation was closed as inconclusive. See Docket No. 77-3, at ECF 64.

Il. THIS LITIGATION

The Complaint filed by Ms. Morales, Mr. Morales, and K.B. asserts 11 claims against 9
named defendants, 10 Doe defendants, and the County of Mendocino (“County”). See Docket No.
1 (“Compl.”). Plaintiffs voluntarily dismissed 3 named defendants and 4 claims with prejudice.
See Opp. at 1. The Court previously dismissed V.W. See Docket No. 74.

The remaining defendants are: social worker Jannee Dale, fellow Child Protective Services
employees Lisa Allison and Mimi Cabral, Buffey Wright, and the County of Mendocino.

The remaining claims are:

e Claim 1, a § 1983 claim against the County and Dale for violation of the Fourteenth
Amendment right to familial association. The alleged factual basis for the claim is Dale’s
unlawful removal of K.B. from Ms. Morales’ custody (under both the Safety Plan and
Voluntary Placement Agreement).

e Claim 2, a § 1983 claim against the County and Dale for violation of the Fourth
Amendment. The claim has two components: (1) the unlawful seizure of K.B. by
removing him from Ms. Morales’ custody (pursuant to the Safety Plan and Voluntary
Placement Agreement), and (2) the unlawful entry by Dale into the Morales residence on
July 30, 2015.

® Claim 3, a § 1983 claim against the County, Dale, Allison, and Cabral for violation of the
Fourteenth Amendment for the continued detention of K.B. despite Ms. Morales’ requests
for his return three times in August 2015 and once in September 2015.

e Claim 4, a § 1983 claim against Dale for violation of the First Amendment. The alleged
factual basis for the claim is that Dale prevented the Plaintiffs from speaking to each other
when Dale seized K.B. on July 30, 2015.

e Claim 5, a § 1983 claim against the County and Dale for violation of the Fourteenth
Amendment. The alleged factual basis for the claim is that Dale lied to Ms. Morales that
she had a warrant permitting Dale to speak to K.B. alone and, as a result, Dale was able to
unlawfully interrogate K.B. on July 30, 2015.

e Claim 6, a § 1983 claim against the County, Dale, and Doe defendants for violation of the
Fourteenth Amendment by subjecting K.B. to a mental health evaluation and giving him
prescription medication without the Morales’ presence or consent.

e Claim 8, a state-law claim against Wright for conspiring to intentionally inflict emotional
distress. The alleged factual basis for the claim is that Wright conspired to remove K.B.
from the custody of Ms. Morales.

For the Northern District of California

United States District Court

27

28

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 4 of 22

IV. THE § 1983 CLAIMS

A. Legal Standards

1, Summary Judgment

Defendants move for summary judgment. A motion for summary judgment shall be
granted where “the movant shows that there is no genuine dispute as to any material fact and the
movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A dispute of fact is
genuine only where there is sufficient evidence to find for the nonmoving party. See Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 248-49, 252 (1986) (“The mere existence of a scintilla of
evidence . . . will be insufficient ....”), At the summary judgment stage, evidence is viewed in
the light most favorable to the nonmoving party and all justifiable inferences are drawn in his or
her favor. See id. at 255. The moving party bears the initial burden of identifying those portions
of the record which demonstrate the absence of a genuine dispute of material fact. The burden
then shifts to the nonmoving party to present evidence demonstrating that a genuine dispute of
material fact exists. See Celotex Corp. v. Catrett, 477 U.S. 317, 322-24 (1986).

2 Qualified Immunity

Key to many § 1983 cases is the doctrine of qualified immunity. Where it applies,
qualified immunity shields individual government officials from civil liability. To overcome
qualified immunity, the plaintiff must establish that: “(1) the official violated a constitutional
right; and (2) that right was ‘clearly established’ at the time of the challenged conduct such that
‘every reasonable official’ would have understood that what he is doing violates that right.”
Morales v. Fry, 873 F.3d 817, 821 (9th Cir. 2017) (quoting Ashcroft v. al-Kidd, 563 U.S. 731, 741
(2011)). While the second prong “‘do[es] not require a case directly on point . . . existing
precedent must have placed the statutory or constitutional question beyond debate,’ such that
‘every’ reasonable official—not just ‘a’ reasonable official—would have understood that he was
violating a clearly established right.” Jd. at 823 (alteration in original) (quoting Ashcroft, 563 U.S.
at 741). To determine whether a legal question is beyond debate, a court looks for “*cases of

controlling authority in [the plaintiffs] jurisdiction at the time’ or ‘a consensus of cases of
4

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 5 of 22

persuasive authority such that a reasonable officer could not have believed that his actions were
lawful.’” /d. “[B]arring an ‘obvious case’ . . . the ‘clearly established’ analysis . . . requires the
court to ‘identify a case where an officer acting under similar circumstances’” was held to have
acted unlawfully. /d. (citations omitted) (quoting White v. Pauly, 137 S. Ct. 548, 552 (2017)); see
also Kramer v. Cullinan, _ F.3d __, 2018 WL 265106, at *6 (9th Cir. Jan. 3, 2018).

B. Removal of K.B. (Claim 1 for unlawful removal: Claim 2 for unlawful seizure: Claim 3 for

continued detention)

The primary contention in this case is that Dale violated Ms. Morales’ and K.B.’s
constitutional rights when she removed K.B. from Ms. Morales’ home for approximately two
months. This contention is the basis for Plaintiffs’ Claim 1 for unlawful removal under the
Fourteenth Amendment, Claim 2 for unlawful seizure under the Fourth Amendment, and Claim 3
for unlawful continued detention under the Fourteenth Amendment.

1. Authority to Remove Under Wallis v. Spencer

The Fourteenth Amendment protects parents’ and children’s “right to live together without
governmental interference.” Wallis v. Spencer, 202 F.3d 1126, 1137 (9th Cir. 1999). Separation
of parents—or here, a guardian—and children therefore requires due process, such as a hearing.
See id. However, a social worker or other government official may warrantlessly intrude on a
parent or guardian’s custody of a child if, at the time of the removal, the social worker has
“reasonable cause to believe that the child is in imminent danger of serious bodily injury and that
the scope of the intrusion is reasonably necessary to avert that specific injury.” Wallis, 202 F.3d at
1138. The danger must be so imminent that it is likely to be inflicted upon the child “in the time
that would be required to obtain a warrant.” Rogers v. Cty. of San Joaquin, 487 F.3d 1288, 1293
(9th Cir. 2007). “The Fourth Amendment also protects children from removal from their homes
absent such a showing.” Jd. Absent a warrant, the defendant has the burden of proving her action
was constitutional. See United States v. Cervantes, 703 F.3d 1135, 1141 (9th Cir. 2012) (“[T]he
government bears the burden of showing that a warrantless search or seizure falls within an
exception to the Fourth Amendment’s warrant requirement.”).

The question under Wallis therefore is whether Dale has proven she had reasonable cause

5

For the Northern District of California

United States District Court

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Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 6 of 22

to believe that K.B. was in imminent danger of serious bodily injury such that she would not have
had time to obtain a warrant. For both the initial removal under the Safety Plan and the continued
removal under the Voluntary Placement Agreement, Dale lacked reasonable cause.

a. Safety Plan Removal

Defendants conceded the point regarding the Safety Plan. At the hearing on this motion,
the Court asked defense counsel, “Are you agreeing that at that moment, after her [Dale] going
out, interfacing with KB, looking at his diary, looking at what was alleged, that there was not, at
that point, reasonable cause to believe the child was in imminent danger of serious bodily injury?”
Docket No. 96 (“Hearing Tr.”), at 6:5-15. Defense counsel responded in the affirmative: “Correct.
... Ms. Dale testified to that. She understood that. She did not have a basis to remove him
without a warrant.” Id.; see also Dale Dep. at 131-32 (“[B]ased on just that part of the
investigation, there would not have been enough to take the child in the county’s custody. .. . I
would have had to do a petition and continue the investigation further including interviews . . . .”).

This concession is consistent with the evidence. At the point of the initial removal from
the home, Dale had only gathered the referral report, interviewed K.B., and obtained the diary.

The referral report did not suggest imminent danger. The report alleges that:

[K.B.] is hit if he does anything his grandmother does not think is
right. He is hit on his face, chest and butt—whipped with a belt,
gets called fat and his food intake is very limited. She hits him in
the face with an open hand and sometimes fist; she pushes him
around with a fist. Before he could eat, he had to run and do a lot of
exercises. Grandmother made [K.B.] write a full page of lies for the
court and threatened to “beat the shit” out of him. She said she
would buy him a PS3 if he did it. The court date was recent. She
used to beat his brothers with brooms and metal hangers. The other
day [K.B.] would not kill a spider because he was afraid of it and
she hit him with a hanger.

Warrant Materials at KB_JV_0004. While serious, these allegations do not suggest serious bodily
harm was imminent, especially in light of the information Dale learned in interviewing K.B.

In the interview, K.B. had admitted to Dale that Ms. Morales would sometimes slap the
back of his head or punch or push him with her fist. Dale Dep. at 91. He also admitted that he
had been spanked with a belt sometime since 2014 “but it had been a while since the last time.”

Id. Dale did not ask about the recency or frequency of these actions, but she observed no signs of

6

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 7 of 22

abuse. See id. at 90-91. In other words, while there may have been some risk of injury over some
period of time, there was no indication that K.B. was likely to be abused within the time it would
have taken Dale to obtain a warrant. Cf Mabe v. San Bernardino Cty., Dep't of Public Social
Servs., 237 F.3d 1101, 1108 (9th Cir. 2001) (concluding that alleged sexual abuse was not
imminent, where the abuse occurred only at night and there was therefore time to obtain a
warrant).

The diary is even less availing. It states in part that Ms. Morales “said she would kick my
ass if I” “deleted her show” and “she really puts on the mental abuse maybe just a little worse than
the physical and verbal abuse.” Docket No. 77-2, Ex. B. These nonspecific allegations, while
concerning, fail to establish an imminent risk of serious bodily injury.

The issuance of the see-and-speak warrant was not sufficient to establish reasonable cause
of imminent serious bodily injury. The warrant only determined that “[e]ntry . . . is required
pursuant to Welfare and Institutions Code §328 in order for investigators to see and speak with the
child, to inspect the safety of the home, to determine whether child welfare services should be
offered to the family, and to determine whether juvenile court proceedings should be
commenced.” Warrant Materials at KB_JV_0008. The issuing court left unchecked the box for
“Protective Custody,” thereby declining to determine that “[t]he child(ren) should be placed into
protective custody because continuance in the parent’s or legal guardian’s home is contrary to the
child’s welfare and: . . . (2) [empty checkbox] The child(ren) is/are in imminent danger of physical
or sexual abuse and there are no reasonable means by which the child(ren) can be protected
without temporary removal f]ro]m the physical custody of the parents or guardians.” Jd. at
KB_JV_0007-08. The warrant, therefore, was not based on a judicial finding of imminent danger
and did not authorize K.B.’s removal from the home.

Though the issuing court also found “reasonable cause to believe that the child(ren) is/are,
or appear to come, within the description of Welfare and Institutions Code §300,” that is
insufficient to satisfy reasonable cause under Wallis. Warrant Materials at KB_JV_0007.
California Welfare and Institutions Code § 300 provides that a child falling within any of ten

categories “is within the jurisdiction of the juvenile court which may adjudge that person to be a

7

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 8 of 22

dependent child of the court.” None of those categories require a finding of imminent danger of
serious bodily injury.

Given the above, Dale did not have reasonable cause for her initial removal of K.B. under
the Safety Plan.

Defendants argue that the Safety Plan was not a type of removal protected against by the
Fourteenth Amendment. See Reply at 7-8. They submit that the separation experienced by Ms.
Morales and K.B. between July 30 and August 4 was not a “removal,” because the County did not
gain custody pursuant to California Welfare and Institutions Code § 300, and because Ms. Morales
chose the home at which K.B. stayed. But Defendants have not shown that rights under the
Fourteenth Amendment are not implicated when a child is removed without a warrant or sufficient
cause simply because the separation lasted only 5 days. The Fourteenth Amendment protects the
“right to live together without government interference.” Wallis, 202 F.3d at 1136. The Safety
Plan disrupted Ms. Morales’ and K.B.’s ability to live together. Absent some de minimis rule
articulated by the courts, this Court concludes the Safety Plan falls within the ambit of the
Fourteenth Amendment.

b. Voluntary Placement Agreement Removal

Dale also did not have reasonable cause for her continued removal of K.B. under the
Voluntary Placement Agreement. She appears not to have gathered additional information
between the July 30 Safety Plan and the August 4 Voluntary Placement Agreement. See Hearing
Tr. at 20:18-21 (Defendants conceding that there were no new revelations between enactment of
Safety Plan and enactment of Voluntary Placement Agreement). As with the Safety Plan,
Defendants rely on the warrant, interview with K.B., and the 2014 investigation to establish
reasonable cause, and nothing more. See Docket No. 76 (“Mot.”), at 9-12. They fail for the same
reasons discussed above.

c. Conclusion

Construing the facts in the light most favorable to non-movants, Dale lacked reasonable

cause to believe that K.B. was in imminent danger of serious bodily injury such that his

immediate, warrantless removal was necessary when the Safety Plan and the Voluntary Placement

8

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 9 of 22

Agreement were implemented. Therefore, any removal must rest on Ms. Morales’ consent to be
valid.

2. Consent to Removal

Defendants contend that even if there was no reasonable cause to remove K.B., Ms.
Morales consented to the removal. Plaintiffs argue that Ms. Morales’ consent to the Safety Plan
and Voluntary Placement Agreement was coerced by Dale and therefore was not effective. See
Schneckloth v. Bustamonte, 412 U.S. 218, 228 (1973) (“[T]he Fourth and Fourteenth Amendments
require that a consent not be coerced, by explicit or implicit means, by implied threat or covert
force.”). For the consent analysis, the parties rely on Sangraal v. City & County of San Francisco,
No. C-11-04884 LB, 2013 WL 3187384, at *7-*15 (N.D. Cal. 2013), aff'd sub nom., Jones v. City
& County of San Francisco, 621 F. App’x 437 (9th Cir. 2015). In that case, a newborn’s father
Sangraal and mother Jones sued social workers and the City and County of San Francisco. The
suit was based in part on a Safety Plan signed by Jones and Sangraal. The plan required Jones and
the newborn to stay at the hospital for two days after the baby’s birth. A social worker had
threatened to remove the baby from Jones’ and Sangraal’s custody if they did not agree to the
Safety Plan. Jd. at *9. Sangraal analyzed whether this threat constituted coercion tainting the
parents’ consent to the Safety Plan.

The court noted that the Ninth Circuit has not addressed the issue and therefore looked to
other circuits. Sangraal first concluded that safety plans are not “inherently coercive when
agencies force parents to sign the plan or face the threat of formal removal proceedings,” because
the plan is still voluntary, that is, “the decision to agree to a safety plan is optional with the
parents.” Jd. (emphasis added) (quoting Dupuy v. Samuels, 465 F.3d 757, 759-63 (7th Cir. 2006)
(analogizing safety plans to settlement agreements and noting that “[iJt is not a forbidden means of
‘coercing’ a settlement to threaten merely to enforce one’s legal rights”)). However, a threat of
removal is nonetheless coercive where the social worker “lacked objectively reasonable grounds to
believe” that the child had been abused or was in imminent danger of abuse. Sangraal, 2013 WL
3187384, at *10 (citing Croft v. Westmoreland Cty. Children & Youth Servs., 103 F.3d 1123, 1127

(3rd Cir. 1997)). Sangraal applied this analysis to its own case, reasoning that if the Sangraal

9

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 10 of 22

social worker had reasonable cause to believe the child was in imminent danger of serious bodily
harm, then the social worker would be entitled to remove the child under Wallis. This then
entitled the social worker to threaten removal in order to achieve “consent” to the Safety Plan. In
other words, under Sangraal, consent is coerced where the social worker threatens removal but
lacks the authority to carry out that threat under Wallis. But if the social worker has such
authority, the consent is not coerced.

This Court agrees with Sangraal that a social worker’s threat to do something that she is
not entitled to do is a factor in favor of finding coercion. But such a threat is not conclusive on the
question of voluntariness. To so hold would make voluntariness turn exclusively on the merits of
the authority to take the challenged action, effectively conflating the analysis and rendering
consent/voluntariness immaterial. To the contrary, it is possible to have uncoerced consent to,
e.g.,a search, even if that search was not supported by probable cause and a warrant; the
voluntariness of consent does not necessarily turn on whether there was sufficient cause for the
search. Instead, “[w]hether consent to search was voluntarily given is ‘to be determined from the
totality of all the cireumstances.’” United States v. Patayan Soriano, 361 F.3d 494, 501 (9th Cir.
2004) (quoting Schneckloth, 412 U.S. at 222). Although certain factors may “aid in the
decisionmaking process, the full richness of any encounter must be considered by the district
court.” United States v. Morning, 64 F.3d 531, 533 (9th Cir. 1995), abrogated on other grounds
by Georgia v. Randolph, 547 U.S. 103 (2006). Those factors may include the words and actions
of the officer, the sophistication or vulnerability of the person searched, etc.

a. Consent to the Safety Plan

In this case, Ms. Morales, Dale, and Denton discussed the Safety Plan on July 30 for
approximately 30 minutes. During this discussion, which took place in the Morales home, Dale
said, “What I’m trying to avoid is having to take him out of here and put him in foster care while
we work this out. If we can do a safety plan where he can stay somewhere else during... .”
Removal Tr. at 2. This is the purported threat. Because this statement can appear to be a threat to

immediately remove K.B. and because, per the above analysis, Dale did not have the authority to

do so under Wallis, this statement is one factor in favor of finding coercion.

10

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 11 of 22

But this factor is heavily outweighed by the other undisputed facts. Importantly, Ms.
Morales was clearly not intimidated by Dale. The audio recording of the encounter makes clear
that Ms. Morales’ tone was self-assured and sometimes even aggressive. See Docket No. 77-3,
Ex. J (“Removal Recording”). Through the encounter, Ms. Morales was steadfast in her demands
that Dale justify her removal of K.B. She repeatedly and confidently stated, “I want section
numbers,” “I want to know what that section says,” and “I want a section number of what you’re
removing this kid out of this house for.” Removal Tr. at 3. Dale and Denton both remained polite
and subdued, even when Dale purportedly threatened to remove K.B. if Ms. Morales did not agree
to the Safety Plan. See Removal Recording. Several minutes into the discussion, Denton
interjected, “If this would be . . . | mean [inaudible 00:04:48]. He could stay at my house for the
weekend,” Removal Tr. at 4 (alteration in original). Ms. Morales replied in a bright and agreeable
tone, “Oh, that sounds great. He can go to see Jason [Denton’s son]... . He can go with CJ
[Denton] because I trust these people. They’re nice people and he can go there.” See Removal
Recording; Removal Tr. at 4. After a few minutes of additional back and forth regarding why
Dale was preventing Ms. Morales from seeing K.B., Ms. Morales confirmed her agreement,
saying, “He can go with CJ.” Removal Tr. at 7. She did not retract her consent or otherwise
undermine it after this confirmation. Additionally, though the mere presence of an officer may
sometimes be coercive, Ms. Morales was quite comfortable with Denton. See id. at 5 (Ms.
Morales describing Denton as trustworthy and “nice” and casually referring to him as “CJ”).
Further, Ms. Morales had prior experience with Dale and knew Denton.

That Ms. Morales was not intimidated is exemplified when Dale asked Ms. Morales to step
out of the house. Dale wanted K.B. to enter the home and pack clothes for the stay with Denton
without seeing Ms. Morales. Ms. Morales stood her ground and declared, “No I’m not. This is
my house... . I’m not going to.” Jd. at 7. Dale relented and did not force the point. Indeed,
Plaintiffs themselves argue that Ms. Morales was not intimidated. See Docket No. 95, at 11
(Plaintiffs arguing that Ms. Morales, while “intimidated” in the sense that she was not prepared to
physically attack Dale to prevent K.B.’s removal, was not a “wilting lily,” as exemplified by Ms.

Morales persistently questioning Dale’s authority).

11

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 12 of 22

Finally, Ms. Morales was not an unsophisticated and vulnerable subject. She had worked
at Child Protective Services and appears to be familiar with its employees. See Removal Tr. at 3
(“I worked down there. I know what you have to do and what you don’t have to do, and you have
to give me a section number right now.”), 12, 13 (“I did once work where you [Dale] worked.”).
The encounter ends with Ms. Morales having an amicable conversation with Denton and thanking
him several times. See id. at 16-19 (“Thank you so much. Thank you. Both of you [referring to
Denton and Denton’s wife who came to pick up K.B.] I really appreciate it.”).

Given these circumstances, no reasonable jury could find that Ms. Morales did not
voluntarily consent to K.B.’s removal from her home. Furthermore, even if Ms. Morales’s
consent was in fact involuntary, a reasonable officer could have believed otherwise given the facts
discussed above. Because it would not have been clear to “every” agent that Ms. Morales’ consent
was involuntary, Dale is entitled to qualified immunity. * See Fry, 873 F.3d at 821. The Court
GRANTS summary judgment to Defendants as to Claims 1, 2, and 3 insofar as they rest on K.B.’s
removal under the Safety Plan.

b. Consent to the Voluntary Placement Agreement

As for Ms. Morales’ meeting with Dale regarding the Voluntary Placement Agreement on
August 4, there is little evidence on what was actually said when Ms. Morales agreed to the longer
displacement of K.B. No transcript or audio recording has been provided to the Court. However,
Ms. Morales states that “[Dale] told us that if I did not sign [the Voluntary Placement Agreement],
KB would be taken away from me and Rudolfo and we would not be able to see him again.”
Morales Decl. § 7. Defendants argue that Ms. Morales was merely informed that Defendants
would petition the juvenile court if Ms. Morales refused to enter into the Voluntary Placement
Agreement. See Reply at 5. Exactly what was said and whether it was said in a coercive manner

or setting appears to be a genuine dispute of material fact. Unlike the situation with the Safety

? Plaintiffs argued at the hearing that consent is a factual question not properly considered in a
qualified-immunity analysis. But qualified immunity is often resolved at summary judgment
where it is clear that, based on undisputed facts or taking all facts in the non-movant’s favor, the
defendant is entitled to qualified immunity. See, e.g., Liberal v. Estrada, 632 F.3d 1064, 1082
(9th Cir. 2011) (deciding, in summary judgment context, whether defendants were entitled to
qualified immunity on the issue of consent).

12

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 13 of 22

Plan discussion, there are no clear indications of voluntary consent. The issue of consent cannot
be determined on this spare record, particularly since Defendants bear the burden of proving
consent. See Cervantes, 703 F.3d at 1141.

Nor can qualified immunity be adjudicated absent facts showing whether every reasonable
official in Dale’s place would have known that Ms. Morales’ consent was coerced.

Defendants’ request for summary judgment is therefore DENIED with respect to Claims 1,
2, and 3 insofar as they rest on K.B.’s continued separation from Ms. Morales under the Voluntary
Placement Agreement.

Cc. Medical Intervention (Claim 6)

Defendants move for summary judgment of Claim 6. Claim 6 alleges that Dale and
various Doe defendants violated Ms. Morales and K.B.’s right to familial association by
subjecting K.B. to a mental health evaluation and giving him unspecified prescription medication
without notifying Ms. Morales or obtaining her consent.

The right to family association extends to the right of parents to make “important” medical
decisions for their children. Wallis, 202 F.3d at 1141. Likewise, children have the right to have
such decisions made by their parents. See id. This right requires the government to obtain either
parental consent or judicial authorization with parental notification before conducting “physical
examinations” on the minor for “investigative purposes.” /d. The right also encompasses a
“family’s right to be together” when children are “receiving medical attention” or “medical
procedures, including examinations,” “particularly those . . . that are invasive or upsetting.” /d. at
1142. “The interest in family association is particularly compelling at such times, in part because
of the possibility that a need to make medical decisions will arise, and in part because of the
family’s right to be together during such difficult and often traumatic events.” Jd. Wallis
explained these rights in the context of minors who had been seized by police officers and
subjected to anal and vaginal medical examinations without judicial authorization or parental
consent. See id. at 1131.

The Ninth Circuit again addressed the familial right to be together during medical

procedures in Greene v. Camreta, 588 F.3d 1011 (9th Cir. 2009), vacated in part on other grounds
13

United States District Court
For the Northern District of California

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 14 of 22

Greene v. Camreta, 661 F.3d 1201 (9th Cir. 2011). There, a mother had been ordered to leave the
facility where her children were subject to an exam that included photography of the genitalia.
This violated the mother and children’s rights to be together or at least be nearby during
potentially traumatic medical examinations. See id. at 1037. Their rights were “at their apex”
because of the potential trauma that could come of an invasive procedure like having one’s
genitalia photographed. See id.

Here, Plaintiffs submit testimony that K.B. was taken to the doctor twice without Ms.
Morales’ consent. See Morales Dep. at 78. On these occasions, he was seen by his usual
physician. See Powell Decl., Ex. D (“K.B. Dep.”), at 46. The nature of the visits is unclear.
When K.B. was asked, “And... what was the nature of those [visits]?” he answered, “Uh, I’m
really not quite sure.” Jd, Likewise, Ms. Morales states that K.B. was taken to the doctor “for I
don’t even know what.” See Morales Dep. at 78. At some point, K.B. was also given a
tuberculosis test without Ms. Morales’ consent. See id.

Under Wallis and Greene, a family’s right to be together during a medical procedure is
tuned in part to the degree of potential trauma and invasiveness occasioned by the procedure. See
Greene, 588 F.3d at 1037 (holding that family’s right to be together was violated, where that right
was at its “apex” due to potential trauma of procedure); Wallis, 202 F.3d at 1142 (holding that
family’s right to be together is “particularly compelling” for “invasive or upsetting” procedures).
Plaintiff has the burden of proving a constitutional right was violated. See Jordan v. Herrera, 224
F. App’x 658, 657 (9th Cir. 2007) (“In the Ninth Circuit, the burden of proof in § 1983 cases
remains always with the plaintiff.”). Here, even when viewing the evidence in the light most
favorable to Plaintiffs, there is no indication that K.B.’s visits were for investigatory rather than
medical purposes. Nor is there any indication that the doctor’s visits carried the potential for
trauma, was invasive, or involved significant medical decision-making. Plaintiffs have not carried
their burden of establishing doctor’s visits violated their rights under Wallis and Greene.

Plaintiffs cite three cases in addition to Wallis: Swartwood v. County of San Diego, 84 F.
Supp. 3d 1093 (S.D. Cal. 2014), Parkes v. County of San Diego, 345 FP. Supp. 2d 1071 (S.D. Cal.

2004), and Reynolds v. County of San Diego, 224 F. Supp. 3d 1034 (S.D. Cal. 2016). All three
14

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 15 of 22

cases addressed the right of families to be together during medical procedures, but all three are
factually distinct from this case in important ways. Like Wallis and Greene, Swartwood and
Parkes involved examination of children’s genitalia outside of the presence of their parents, an
invasive and potentially traumatic experience. See Swartwood, 84 F. Supp. 3d at 1097; Parkes,
345 F. Supp. 2d at 1094. Reynolds, as well as Swartwood, concerned examinations for
investigatory purposes, implicating heightened protections under Wallis, See Reynolds, 224 F.
Supp. 3d at 1064; Swartwood, 84 F. Supp. 3d at 1118. None of these cases find the more
pedestrian context of this case violative of the Constitution.

Given the ambiguity of the precise reach of Wallis and Greene, even if the right to family
association extends to the facts in the instant case, Plaintiffs have failed to show that the law
clearly establishes that these events violated their rights. As the Supreme Court admonished
recently, “‘clearly established law’ should not be defined ‘at a high level of generality.”” White,
137 S. Ct. at 552 (quoting Ashcroff, 563 U.S. at 742). “[T]he clearly established law must be
‘particularized’ to the facts of the case.” Jd. (quoting Anderson v. Creighton, 483 U.S. 635, 640
(1987)). The law must be so clearly established that “‘every reasonable official’ would have
understood that what he is doing violates that right.” Fry, 873 F.3d at 821 (quoting Ashcroft, 563
U.S. at 741). Plaintiffs make no attempt to show that “‘cases of controlling authority in [the
plaintiff s] jurisdiction at the time’ or ‘a consensus of cases of persuasive authority’” placed the
question of Dale’s particular violation of Ms. Morales and K.B.’s rights “beyond debate.” Fry,
873 F.3d at 823 (emphasis omitted) (quoting Ashcroft, 563 U.S. at 741).

Because Plaintiffs have not shown that the law clearly establishes that K.B. and Ms.
Morales’ rights were violated when K.B. was taken to the doctor, the Court GRANTS
Defendants’ request for summary judgment as to Claim 6.

D. Unlawful Entry (Claim 2)

Defendants move for summary judgment of Claim 2. As previously discussed, Claim 2
includes an unlawful-seizure component based on Dale’s seizure of K.B. and an unlawful-entry
component based on Dale’s entrance into Ms. Morales’ home “without consent, a warrant or court

order authorizing entry.” Compl. § 162. Because the see-and-speak warrant undisputedly

15

United States District Court
For the Northern District of California

27
28

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 16 of 22

permitted Dale to “enter the premises,” Warrant Materials at KB_JV_0010, the constitutionality of
Dale’s entrance into Ms. Morales’ home rises and falls with the validity of the warrant. Though
Plaintiffs challenge the validity of the warrant, such arguments are unavailing.

Plaintiffs argue that the warrant is invalid for three reasons that boil down to judicial
deception: (1) Dale purportedly lied on her warrant application by falsely indicating that she had
reviewed K.B.’s case history, (2) Dale failed to disclose the results of the 2014 investigation, i.e.,
that K.B. had denied being abused by Ms. Morales after a teacher had overheard K.B. describing
such abuse, and (3) Dale has omitted “numerous” facts. Opp. at 16.

For a Fourth Amendment claim based on judicial deception to survive Defendants’ motion
for summary judgment, Plaintiffs “must 1) make a substantial showing of deliberate falsehood or
reckless disregard for the truth and 2) establish that, but for the dishonesty, the challenged action
would not have occurred.” Liston v. Cty. of Riverside, 120 F.3d 965, 973 (9th Cir. 1997); see also
Chism v. Washington State, 661 F.3d 380, 386 (9th Cir. 2011).

The first purported falsehood/omission stems from the fact that the warrant application
checks a box for “CWS/CMS History reviewed.” Warrant Materials, at KB_JV_0004.
CWS/CMS stands for “Child Welfare Services/Case Management System” and is a system for
tracking child welfare cases. Plaintiffs claim that, despite the checked box, Dale never reviewed
K.B.’s CWS/CMS history. Opp. at 10 (citing Dale Dep. at 61:25-62:15). To support their
argument, Plaintiffs cite Dale’s deposition. At her deposition, Dale indicated that she had not
reviewed the CWS/CMS history. See Dale Dep. at 61:21-63:9. She then corrected herself and
indicated that she did review the case history. See id. at 63:10-64:4. She testifies that she looked
through the history for “the gist of it; who were they; is there anything pertaining to this situation,”
but that she did not look at the details “because it wasn’t pertinent for me to look at that
information.” /d. at 64:5-12.

The second purported falsehood/omission is Dale’s lack of specificity in her summary of
the 2014 investigation. The warrant application indicates that KB “did not disclose current
physical discipline and stated he was not afraid of his grandparents.” Warrant Materials, at

KB JV_0004. Plaintiffs claim that K.B. did disclose his current physical discipline by stating that
16

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 17 of 22

he had not been struck on the bottom so hard that he could not sit down, as alleged in the 2014
referral. Opp. at 11; see K.B. Dep. at 15:13-23.

The third purported falsehood/omission in the warrant application also concerns the 2014
investigation. The warrant application indicates that when Ms. Morales was interviewed as part of
the 2014 investigation, she had “stated that she had spanked him with a belt in the past and did
threaten to spank him with a belt if his behaviors in school didn’t improve.” Warrant Materials, at
KB_JV_0004. Ms. Morales denies that she made such a statement. Opp. at 11 (citing Morales
Dep. at 51:0-52:3).

The first prong of Liston is met. See Opp. at 16-17. This prong requires only a
“substantial showing” of a deliberate or reckless disregard for the truth; “clear proof” is not
required at the summary judgment stage. Chism, 661 F.3d at 387. Two factors relevant to this
determination are (1) whether the false statements and omissions “bolster the case for probable
cause” and (2) the extent to which the affiant knew of the falsity or of the omitted fact. Jd. at 388.
These factors would permit a reasonable factfinder to conclude that the affiant intended to
manipulate the magistrate. Jd.

The second and third false statements/omissions above bolster the case for probable cause,
because they suggest that Ms. Morales had abused K.B. in 2014, increasing the likelihood that she
had abused him in 2015. The first false statement also conceivably bolsters the case for probable
cause, because it suggests that Dale had conducted research on K.B.’s history with CPS and found
nothing to suggest that the 2015 complaint was misleading or incorrect. Taking Plaintiffs’ factual
submissions as true and drawing all reasonable inferences in Plaintiffs’ favor, the Plaintiffs have
raised a genuine issue of fact as to whether Dale knew of the falsities and omissions. This is
sufficient to make a “substantial showing” that Dale acted with deliberate or reckless disregard for
the truth.

The second prong of Liston is not met, however. This prong requires that the false
statement or omission be material. False statements and omissions are material “if ‘the affidavit,
once corrected and supplemented,’ would not have provided a magistrate judge with a substantial

basis for finding probable cause.” Chism, 661 F.3d at 388-89 (quoting United States v. Stanert,
17

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 18 of 22

762 F.2d 775, 782 (9th Cir. 1985)). Plaintiffs fail to show that the falsehoods and omissions were
but-for causes of the warrant’s issuance. They only “posit” that “the warrant would have been
denied.” Opp. at 17. Moreover, even if the warrant application were corrected, the substantial
narrative regarding the 2015 referral would have been sufficient basis for the warrant to issue. For
example, the narrative states that the referral “reported that, ‘[K.B.] is hit if he does anything his
grandmother does not think is right. He is hit on his face, chest and butt—whipped with a belt,
gets called fat and his food intake is very limited. She hits him in the face with an open hand and
sometimes fist ....’” Warrant Materials, at KB_JV_0004. Even if Dale had not checked the
CWS/CMS history box, had stated that K.B. denied abuse during the 2014 investigation, and had
not stated that Ms. Morales admitted to spanked K.B. with a belt during the 2014 investigation,
there would still have been substantial grounds based on the 2015 referral for the warrant to issue
and to begin the investigation. The warrant is therefore valid.

Plaintiffs also argue that the warrant only permitted Dale to enter the Morales residence
once. See Opp. at 4-5. She first entered the home to greet Ms. Morales and arrange to speak with
K.B. outside the home. Plaintiffs argue that Dale’s entrance into the residence after interviewing
K.B. constituted an unlawful entry. Though Plaintiffs do not explain further, this argument might
be premised on the notion that the warrant only permitted Dale to see and speak with K.B., which
was accomplished after the interview. But the warrant clearly permits Dale also “to inspect the
safety of the home, to determine whether child welfare services should be offered to the family,
and to determine whether juvenile court proceedings should be commenced.” Warrant Materials
at KB_JV_0008. Re-entering the residence to follow up with Ms. Morales after speaking to K.B.
is within the scope of this mandate.

In any case, a reasonable official could have believed that Dale was acting lawfully under
the warrant in entering the house the second time, and qualified immunity therefore applies.

Because the warrant is valid and because qualified immunity applies, the Court GRANTS
summary judgment to Defendants with respect to the unlawful-entry component of Claim 2.

E, Unbriefed Claims

Defendants request summary judgment for Claims 4 and 5 but provide no briefing at all.

18

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 19 of 22

Plaintiffs pointed out Defendants’ failure to make arguments regarding these claims, see Opp. at 4,
5, but Defendants nonetheless fail to address these claims in their Reply. The Court therefore
DENIES summary judgment as to Claims 4 and 5.

F. Monell Liability

Defendants request summary judgment as to all § 1983 claims against the County brought
under Monell v. Department of Social Services, 436 U.S. 658 (1978). Monell permits
municipalities to be held liable for the § 1983 violations of their employees. Monell liability
requires that a municipal “policy or custom” led to the plaintiff's injury and that such policy or
custom “reflects deliberate indifference to the constitutional rights of [the municipality’s]
inhabitants.” Castro v. Cty. of Los Angeles, 833 F.3d 1060, 1073 (9th Cir. 2016) (quoting City of
Canton y. Harris, 489 U.S. 378, 392 (1989)).

Plaintiffs present evidence that amounts to the County’s failure to train as follows: Dale
had removed children five to eight times and never obtained a removal warrant. See Dale Dep. at
25-26. Dale later corrected herself and says that she obtained a warrant at least once. See id. at
46. Furthermore, she had never heard of a social worker being disciplined for failing to obtain a
warrant, see id. at 27, nor had she received training on constitutional amendments or case law
relevant to removal. See id. at 57-58. She also had not received “formal training” on how to
obtain a child protective custody warrant, although she had received “one-on-one training.” Jd. at
45-46. Dale’s understanding, based on the training, was that she could warrantlessly remove a
child “[i]f there is any immediate danger” that would “rise to the level of having some sort of
effect on the child.” Jd. at 39. The list of evidence that Plaintiffs present continues with similar
statements. See Opp. at 8-9.

This evidence fails to establish a genuine dispute as to the existence of a policy or custom
that reflects the County’s deliberate indifference to constitutional rights. See City of Canton, Ohio
v. Harris, 489 U.S. 378, 389. Plaintiffs have presented no evidence that “the need for more or
different training is so obvious, and the inadequacy so likely to result in the violation of
constitutional rights, that the policymakers of the city can reasonably be said to have been

deliberately indifferent to the need.” Jd. at 390. Plaintiffs offer no evidence, for instance, that the

19

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 20 of 22

prior warrantless removals of children by Dale were done without consent or sufficient cause.
Plaintiffs offered no evidence of a known pattern of constitutional violations. Nor is there any
evidence that the one-on-one training was inadequate or insufficient to prevent repeated
constitutional violations. The Court therefore GRANTS summary judgment as to the County’s
Monell liability.

Vv. CONSPIRACY FOR ITED (CLAIM 8)

Defendants move for summary judgment on Claim 8, a state-law claim for conspiracy to
intentionally inflict emotional distress (“ITED”). Claim 8 alleges that Wright, in addition to now-
dismissed defendants Buxton, Sookne, and V.W., conspired to cause K.B.’s removal from Ms.
Morales’ custody, thereby inflicting emotional distress upon them. Compl. § 199. The claim as to
V.W. was previously dismissed with prejudice. See Docket No. 74.

Defendants argue that “[P]laintiffs have failed to demonstrate ‘extreme and outrageous
conduct by the defendant with the intention of causing, or reckless disregard of the probability of
causing, emotional distress.’” Mot. at 17 (quoting Potter v. Firestone, 6 Cal. 4th 965, 1000
(1995)). However, Defendants go no further. Defendants fail to cite the record to show
undisputed facts warranting summary judgment as a matter of law. Indeed, Defendants’
conclusory repetition of the law does not even indicate which element of ITED Plaintiffs will be ©
unable to prove.

Defendants instead focus on the intracorporate conspiracy doctrine, arguing that the
doctrine renders legally impossible any civil conspiracy between employees of a municipality
acting within the scope of their employment. Mot. at 16. Under the intracorporate conspiracy
doctrine, “[a]gents and employees of a corporation cannot conspire with their corporate principal
or employer where they act in their official capacities.” Applied Equip. Corp. v. Litton Saudi
Arabia Ltd., 7 Cal. 4th 503, 512 n.4 (1994) (quoting Wise v. S. Pac. Co., 223 Cal. App. 2d 50, 72
(1963)). Later cases suggest that this rule also bars conspiracies between employees acting in their
official capacities. See Black v. Bank of Am., 30 Cal. App. 4th 1, 6 (1994) (holding that
conspiracy requires two entities and that the acts of corporate agents are the corporation’s acts).

Wright’s actions, however, did not take place in the course of her employment. As Defendants

20

For the Northern District of California

United States District Court

Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 21 of 22

argue elsewhere, her “involvement is that of a biological mother.” Mot. at 14; see Compl. {J 39-
40, 50-51, 55-62 (allegations of Wright’s personal, non-official conduct).? Defendants have not
shown that employees are legally incapable of conspiring with non-employees.

Defendants also argue that the state claims, brought into this suit under supplemental
jurisdiction, should be dismissed because the Court should grant summary judgment to Defendants
on the federal claims. Mot. at 15-16. Because the Court denies summary judgment on some
federal claims, this basis for dismissal of the state claims is inapplicable.

For the above reasons, the Court DENIES summary judgment regarding Claim 8.

VI. CONCLUSION

For the foregoing reasons, the Court GRANTS summary judgment as to Claims | and 3
for K.B.’s removal under the Safety Plan, the unlawful-seizure portion of Claim 2 for K.B.’s
removal under the Safety Plan, the unlawful-entry portion of Claim 2, Claim 6, and the County’s
liability under Monell for all claims. The Court DENIES summary judgment for K.B.’s removal
under the Voluntary Placement Agreement for Claim 1, the unlawful-seizure portion of Claim 2
pertaining to K.B.’s removal under the Voluntary Placement Agreement, and Claim 3 pertaining
to the time of the Voluntary Placement Agreement. The Court also DENIES summary judgment
as to Claims 4, 5, and 8. The Court also GRANTS summary judgment with respect to Plaintiffs’
claim that their rights were violated by Dale’s omissions and misrepresentations in obtaining the
see-and-speak warrant.

This order disposes of Docket No. 76.
IT IS SO ORDERED.

Dated: February 5, 2018

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EDWARD M. CHEN
United States District Judge

> For the same reason, immunity under Cal. Gov. Code §§ 820.2 and 821.6 is not applicable.
21

United States District Court
Northern District of California

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Case 3:16-cv-02429-EMC Document 98 Filed 02/05/18 Page 22 of 22

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

LINDA MORALES, et al.,
Plaintiffs,
V.

COUNTY OF MENDOCINO, et al.,

Defendants.

Case No.1 6-cv-02429-EMC

CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S.

District Court, Northern District of California.

That on 2/5/2018, I SERVED a true and correct copy(ies) of the attached, by placing said
copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by depositing
said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery receptacle

located in the Clerk's office.

Nancy K. Delaney

Mitchell Brisso Delaney & Vrieze

814 Seventh Street
P.O. Drawer 1008
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Robert Ross Powell

Law Offices of Robert R. Powell

925 West Hedding Street
San Jose, Ca 95126

Dated: 2/5/2018

Susan Y. Soap

By:
BettWee, Deputy Clerk to the
Honorable EDWARD M. CHEN

